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ifi’s Office
an aly Sheriff sO
ie pass Warning (CTW)
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| eas
Address: oN Brick
City: \AiC Joria, | A
~ Phone: | ae ps oe
Location and Reason for CTW: rol wrouse, (17
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* Sr Le TH: : Bi Ae Q anon : IE TG - ; 2 |
Anna Hams Barres) ar € 4¢ bh NSS a. = ak sce rn r Alay Ce At EM Apna
ae ne Veron, , f - S 102 N Beidng gnc Yl | wa ~ | f | os ‘n atpurtoem
Yarns Barret Tate y sKnganinaperapiate vide OnAthe judoe's bench. which ¢

, - rs a . Sh = a . ‘ . iminal
ee He cothieadlet ik Chul BEA COWL County Sheritrs Office requesting a Cr
_ Trespass Warning (CTW) to be issued to the following person:

 

 

 

Name: Aayi \ re |
Address: Personal information
i ;

_ City: ity . $e

Phone: ~ Personal information

i Rk oo ee ode Eid

This CTW js being issued to the above named person under the authority a ie fey hee sis
Section 30.05 (Criminal Trespass) at the complainant’s request. It is valid fomaperiddtat ung ac from th
date of issuance :

not be issued for a period o 30 days from the cancellation.

timate NN 13-0,
Complainant’s sign sas

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By signing this Jorm, the person
complainant’s property (listed
Future occurrences of trespass
Senerated in the District Attor;

days in county jail and/or a fine not to exceed $2,000, ify

Property by virtue of a court order or Process, then it is incumbeng UPON you to pea
the deputy issuing the CTW ai:

 

  

to whom this CTW is directed acknowledges he/she
address) for a Period not to e

Xceed one (1) year from
ing will result in an on Scene a one

ley 's Office for criminal Prosecuti

Signature and Date i ce 7

A Lhd YY Lem AS - ade
Issuing VCSO Deputy and a a

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